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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  TILL STEIN, et al.,

                                                            CIVIL ACTION
                                  Plaintiffs,
                         V.
                                                            No. 16-cv-6287(PD)

  KA THY BOOCKVAR, in her official
  capacity as Secretary of the Commonwealth,
  and JONATHAN MARKS, in his official
  capacity as Commissioner of the Bureau of
  Commissions, Elections and Legislation,

                                 Defendants.


         DECLARATION OF KATHY BOOCKVAR IN SUPPORT OF DEFENDANTS'
        OPPOSITION TO PLAINTIFFS' MOTION TO ENFORCE THE SETTLEMENT
                                 AGREEMENT

         I, Kathy Boockvar, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746

that:

         I am the Secretary of State (commonly known as the Secretary of the Commonwealth) of

the Commonwealth of Pennsylvania. I make this declaratjon in support of Defendants' Response

in Opposition to ·Plaintiffs' Motion to Enforce the Settlement Agreement.

Background

         1.     I was appointed Acting Secretary of the Commonwealth on January 5, 2019 and

. confirmed by the Senate on November 19, 2019.

         2.     In this role, I.lead the Pennsylvania Department of State's efforts to promote the

integrity and security of the electoral process. I work with election directors and personnel in the

Commonwealth's 67 counties, as well as other Secretaries of State across the country, to ensure

that our elections are free, fair, secure, and accessible to all eligible voters.
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        3.     I am an attorney with an extensive background in election administration.

        4.     From March 5, 2018, until the date I was appointed as Secretary, I served as

Senior Advisor to Pennsylvania Governor Tom Wolf on Election Modernization, leading and

managing initiatives to improve security and technology in Pennsylvania's elections, in

collaboration with federal, state, and county officials.

        5.     In August 2019, I was appointed to serve as the Elections Committee Co-Chair

for the National Association of Secretaries of State ("NASS").

        6.     One of my responsibilities as Co-Chair is to serve as a NASS representative on

the Election Infrastructure Subsector Government Coordinating Council ("EIS-GCC"). The EIS-

GCC is a first-of-its-kind collaboration among federal, state, and local officials to secure

elections, working to formalize and improve information-sharing and communication protocols

to ensure that timely threat information, support, and resources reach all election officials so they

can respond to threats as they emerge.

       7.      Between 2008 and 2010, I served as senior voting rights counsel for

Advancement Project, a national nonprofit civil rights organization. In this position, I worked in

collaboration with local, state, and national government officials, agencies, legislators, and

nonprofit organizations, to ensure that election laws were administered fairly, effectively, and

accurately.

       8.      I also served as a poll worker for a number of years in Bucks County.

       9.      Since 2018, I have gained significant experience with voting system technology,

including attending some portion of most of the certification examinations in Pennsylvania,

participating in multiple voting system demonstrations, reviewing certification reports,




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consulting with experts, attending conferences, and reading documentation relating to these

systems.

Pennsylvania's Transition to Voting Systems With Voter-Verifiable Paper Records

       10.     At the beginning of 2019, Pennsylvania was one of only 12 states still using

Direct Recording Electronic ("DRE") voting machines. DREs do not generate a paper record

that voters can review and verify before their vote is tabulated.

       11.     Voter-verifiable paper records enable accurate recounts and robust post-election

audits, because they ensure that election officials have access to a physical record of each vote,

confinned by the voter who cast it.

       12.     For several years, DOS has been committed to phasing out DREs and replacing

them with voting systems that provide voter-verifiable paper records, in order to ensure that there

is a voter-verifiable paper record of every vote cast in Pennsylvania.

       13.     To advance this process, in December 2017; DOS held a voting systems vendor

forum that was open to the public, county election officials, and other stakeholders, to begin

exploring new voting machine options for Pennsylvania. ES&S participated in this forum.

       14.     In February 2018, the Department issued a directive requiring that all new voting

systems procured by Pennsylvania counties have voter-verifiable paper records of votes cast.

       15.     On April 12, 2018, DOS directed Pennsylvania's counties to purchase voting

systems with voter-verifiable paper records no later than December 31, 2019, and preferably

have them in place by the November 2019 general election.

       16.    · On April 26, 2018, DOS held a voting systems vendor demonstration, allowing

the public, legislators, county officials, press, and all stakeholders to view and try the new voting




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systems under consideration. Election Systems & Software ("ES&S") participated in this

demonstration.

        17.      Five additional DOS-sponsored vendor demonstrations were held around the state

between Fall 2018 and January 2019, all of which included ES&S.

        18.      Since January 1, 2018, DOS has certified seven systems that meet DOS's

February 2018 directive and have undergone enhanced security testing, as explained below.

        19.       As of today, nearly 90% of the Counties have complied with the Secretary's

April 2018 mandate, and the remaining 8 counties are expecting to select their new paper-record

voting systems in the next few weeks.

       20.       At present, there are two broad categories of voting systems that can provide

voter-verifiable paper records. The first, optical or digital scan paper ballot systems, requires

voters to hand mark paper ballots, which are then scanned and tabulated by scanning devices. In

order to tabulate the votes, the scanners sense the marks the voters have made, along with timing

marks and/or other machine-generated markings on the paper ballots.

       21.       The second category of voting systems that can provide voter-verifiable paper

records of the voter's selections are ballot marking devices ("BMDs"). These systems provide

an interface to assist each voter in marking a paper document reflecting the voter's choices,

which is then scanned into a tabulator or counted by hand.     .

       22.       Because voters with disabilities may be unable to hand mark paper ballots

independently and privately, federal law requires every polling place that uses optical scan

equipment to have at least one BMD for use by voters with disabilities.

       23.       All systems certified for use in Pennsylvania since January 1, 2018, produce paper

records with human-readable text that voters can review before casting their ballots.




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       24.     In the systems certified in Pennsylvania that use hand-marked paper ballots, those

ballots contain not only human-readable text but also barcodes, QR codes, and/or other non-

human-readable pattern codes.

       25.     Hand-marked paper ballots contain information in three formats: The candidates'

names in human-readable text, the marks that the voter makes (usually filled-in ovals next to the

candidates' names), and a barcode or other pattern code that contains instructions as to how the

scanner should interpret the voter's marks.

       26.     The scanner uses barcode or other pattern codes to interpret the voter's marks.

The pattern code tells the scanner what a mark in a certain location of the ballot means and how

that mark should be tabulated.

       27.     In Paragraph 3 of his Declaration in support of Plaintiffs' Motion, J. Alex

Halderman states that a voting system that uses hand marked paper ballots "does not place a

hackable computer between the voter and the official record of her vote."

       28.     If Dr. Halderman is stating that optical scan voting systems do not use computers

to interpret and record votes, he is incorrect. As described above, optical scan systems, like

BMDs, use computers to interpret the paper record of the voter's vote and tabulate that vote.

These computers use non-human-readable pattern codes to make that interpretation.

       29.     The only alternative to using computers to translate the voter's actions into

tabulated votes is to hand count paper ballots - an expensive, time-consuming, and unreliable

process.

       30.     As described above, the advantage of systems with voter-verifiable paper records

is that they allow election officials to catch errors in the computerized processes and conduct

accurate recounts of the vote.




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Recounts and Audits

        31.    Pennsylvania has formed a statewide post-election audit working group, which

includes election officials from six counties, as well as expert advisors on audits and elections.

This working group is studying audit models such as risk-limiting audits and is developing best

practice recommendations for post-election audits that will review the plain text on the paper

records and the tabulated votes to confirm to a reasonable degree of statistical certainty the

accuracy of the outcome of the election.

       32.     One of the members of the working group, Mark Lindeman, Senior Science and

Technology Policy Office for Verified Voting, was designated by the Plaintiffs in this lawsuit.

       33.     Following the 2019 elections, Mercer County and Philadelphia County performed

pilot risk-limiting audits. County election officials, Department of State staff, and elections

experts from the U.S. Election Assistance Commission, the University of Michigan, the Brennan

Center for Justice at NYU School of Law, the Democracy Fund, VotingWorks, and Verified

Voting participated in developing and implementing the pilot audit process using the new paper-

based voting systems.

       34.     Independent of the audit working group, and pursuant to existing statutory

provisions, DOS has conditioned certification of certain voting systems, including the

Express Vote XL, on the use of post-election, manual audits of the paper records. See infra      ,r 61.
       35.     I will require that any audit procedure the Commonwealth adopts will require

review of the plain text of the paper records.

       36.     In the event of any conflict between the plain text and the non-human-readable

information on the paper record, the plain text will control.




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"Paper Ballots" ·

        37.    In the discussion above, I have used the term "paper ballots" to refer to the

ballots, showing all the choices available in an election, that voters hand mark for use in optical

scanning voting systems, and the term "paper record" to refer to the record of votes that a BMD

prints, and a voter may verify, before the votes are cast.

        3 8.   However, in the context of the transition from DRE voting systems to voting

systems with paper records that can be verified by the voter and audited by election officials,

observers often use the term "paper ballots" as a catchall term for the benefit that DREs do not

provide - verifiable, auditable, contemporaneous paper records ofvotes. ·In public statements,

many in the election security community- including myself and others in Governor Tom Wolfs

administration- sometimes distinguish between "paper records" and "paper ballots;" but

sometimes describe all such paper records as "paper ballots."

       39.     For example, in testimony to the Pennsylvania State Senate Government

Committee on March 26, 2019, I stated: "As you know, last April, the department directed

counties to purchase new voting systems that meet current security and accessibility standards,

including an auditable paper ballot that voters can review and verify before casting their ballot." 1

See also, e.g., Commissioner Marks' s statement to the Senate State Government Committee

dated September 25, 2018,2 at 2 (describing professionals' view that elections "should be

conducted with paper ballots by 2020"); interview with Commissioner Marks held at voting

equipment expo on November 29, 2018 ("all of this voting equipment has a voter verified paper



1
  See https://stategovernment.pasenategop.com/wp-
content/uploads/sites/30/2019/03/boockvar.pdf.
2
  See https://stategovemment.pasenategop.com/wp-
content/uploads/sites/30/2018/09/MarksTestimony925 .pdf



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ballot ... that's the most important component that we're focusing on relative to security ... ")3;

Statement of Governor Tom Wolf dated Feb. 21, 2019 (lauding voting officials' commitment to

"ensuring that all voters will be voting on systems with voter-verifiable paper ballots and

meeting the highest standards of security and accessibility by 2020").

         40.     I attended and participated in the settlement conference in this case before

Magistrate Judge Rice on October 11, 2018, at which the parties agreed to the terms set forth in

Paragraphs 2 and 3 of the November 28, 2018 Settlement Agreement, a copy of which is

attached as Exhibit A to the Declaration ofllann M. Maazel docketed at ECF 112-1.

         41.     At no point during the settlement conference did the Plaintiffs assert that only

voting systems that used hand-marked paper ballots were acceptable, that BMDs or systems

using barcodes were not, or that Plaintiffs opposed the certification of any system that was then

going through the certification process.

Pennsylvania's Voting Machine Certification Process

         42.     In order to become available to Pennsylvania counties, every voting machine

system must go through an exhaustive process.

         43.     First, pursuant to the Pennsylvania Election Code at 25 P .S. § 3031.5, the system

must be evaluated by a federally approved voting system test laboratory and certified by the U.S.

Election Assistance Commission ("EAC") for conformance with either the 2005 Voluntary

Voting System Guidelines or the Voluntary Voting Systems Guidelines 1.1 published by the

EAC, or any subsequent iteration of federal voting system standards.




3
    See video posted at https://www.centredaily.com/latest-news/article222397975.html.


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        44.     Once a system completes EAC testing, the vendor submits an application to DOS

that includes testing reports, a list of all components of the system that require examination, and

complete documentation for the system, including manuals and other technical data.

        45.     DOS then conducts an examination and testing to determine whether the system

conforms to state law and any Commonwealth regulations or standards regarding the following

criteria: confidentiality, security, accuracy, safety, reliability, usability, accessibility, durability,

resiliency, and auditability.

        46.     Under updated Commonwealth security standards adopted in 2018, the

certification process includes additional security testing, such as:

                    •   Penetration testing evaluates the security of the voting system by seeking
                        out and trying to exploit potential vulnerabilities that an attacker could
                        exploit;

                    •   Access control testing to confirm that the voting system can detect and
                        prevent unauthorized access to the system and election data;

                    •   Evaluation of voting system audit logging capabilities to confirm that the
                        system logs will allow auditing, as well as investigation of any apparent
                        fraudulent or malicious activity; and

                    •   Tests that ensure every physical access point is well secured and system
                        software and firmware is protected from tampering.

       47.      In conformance with protocols for protecting critical infrastructure election

security information, since 2018, security testing of all systems has been and continues to be

conducted offsite in the system examiner's laboratory.

       48.      DOS's examiners, SLI Global Solutions ("SLI"), have extensive experience with

preventing, identifying and mitigating vulnerabilities and security risks in both computer system

hardware and software. SLI is qualified as an EAC accredited Voting System Test Lab,

experienced with multiple voting system manufacturers, and they maintain certification from




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professional organizations like the International Organization for Standardization ("ISO") and

the Institute of Electrical and Electronics Engineers ("IEEE").

          49.   As part of its certification, DOS may impose limitations or conditions on use of a

particular voting system.

          50.   DOS's role in this certification process is not to determine which voting system is

the "best" overall, but to ensure that each system used in the Commonwealth meets the

Commonwealth's stringent standards.

          51.   Each County faces different challenges in election administration, and a voting

machine system that works well in one County may not meet another County's needs.

Therefore, DOS attempts to ensure that a range of modem voting technologies is available to the

Counties.

      · 52.     The fact that the Commonwealth's Counties do not all use the same system also

provides a security benefit, because it limits the effect of any effort to compromise a particular

system.

          53.   I understand that the Plaintiffs in this litigation, other than Jill Stein, are residents

of Montgomery County. Montgomery County has not purchased the Express Vote XL, and has

not indicated any plans to do so. To my knowledge, Jill Stein has never lived in Pennsylvania

and is not currently a candidate for any public office.

Certification and Reexamination of the ExpressVote XL

          54.   Upon the application of Elections Systems & Software ("ES&S"), DOS held a

functional and accessibility examination of the system known as EVS 6000, which included the

ExpressVote XL. The examination, which was open to the public, commenced on June 25,




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2018, and lasted for approximately four days. DOS' s examiners also carried out security testing

of the EVS 6000.

       55.      During these examinations, DOS identified functional issues with the EVS 6000

software (it did not accommodate straight ticket voting or write-ins in accordance with the

Pennsylvania Election Code), and the security testing identified an installation issue.

       56.      ES&S corrected these issues, along with another issue noted during a primary

election in Kansas, and resubmitted a new release, EVS 6021. Only the system's software was

updated; its hardware components remained the same as those shown in the public examination

of June 2018.

       57.      On September 21, 2018, DOS released a "Pennsylvania Voting System &

Electronic Poll Book Report." This report noted that testing of the EVS 6021 was scheduled

during the week of September 24.

       58.      An examination of the EVS 6021 took place on September 25 through 28, 2018.

       59.      All of the features of the ExpressVote XL that Plaintiffs criticize in their Motion -

bar codes, printer head location, and tabulation process - were public knowledge by at least June

2018. The fact that the Commonwealth of Pennsylvania had been asked to certify the system

was also public knowledge.

       60.      DOS issued its report and certification of the EVS 6021 system on November 30,

2018. A true and correct copy ofDOS's report is attached as Exhibit 1.

       61.      The certification included a number of conditions. First, it required that after each

election, counties must conduct a "statistical recount of a random sample of ballots" with a

"manual count of the voter marked paper ballots." Id. at 38.




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       62.     A second condition of certification was that "[t]he system must not be configured

to have the voter validate the selections on the screen and "Autocast" the ballot, thus causing a

situation where the voter has not verified what was printed on the paper ballot." Id. at 42. In

other words, in Pennsylvania, the certified use of this system requires that all voters must be

permitted to verify the plain text on the paper record before casting their vote. The "autocast"

option skipping this step is prohibited in Pennsylvania.

       63.     Third, the certification required that "[i]n the event of a recount, the voter verified

paper ballots must be used for the count." Id. at 40.

       64.     A fourth condition involved the machines' communications with other systems:

"No components of the EVS 6021 shall be connected to any modem or network interface,

including the Internet, at any time, except when a standalone local area wired network 80-

configuration in which all connected devices are certified voting system components.

Transmission of unofficial results can be accomplished by writing results to media, and moving

the media to a different computer that may be connected to a network. Any wireless access

points in the district components of EVS 6021, including _wireless LAN cards, network adapters,

etc. must be uninstalled or disabled prior to delivery or upon delivery of the voting equipment to

a county board of elections." Id. at 37-38.

       65.     On July 17, 2019, I received a Petition to Reexamine the ExpressVote XL.

       66.     The petitioners argued, as Plaintiffs do in their Motion, that the ExpressVote XL

did not comply with the Settlement Agreement in this case because it does not include a "printed

ballot" as defined in 25 P.S. § 3031.1. They did not make any other arguments that the

ExpressVote XL did not c<Jmply with the Settlement Agreement.




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        67.     I determined that this claim, along with most of the petitioners' other claims, was

a legal argument that did not apply to the reexamination or certification process.

        68.     DOS engaged a consultant to conduct a focused reexamination of the

ExpressVote XL to address the petitioners' claims that related to certification requirements under

state law. DOS requested that the consultants use their best efforts to try to create the issues that

the petitioners alleged were theoretically possible. The consultants were unable .to do so.

        69.     On September 3, 2019, DOS released the Reexamination Report for the

ExpressVote XL, which maintained its certification but imposed additional conditions for its use.

Issues With the ExpressVote XL in Northampton County Elections

        70.     There were widely reported problems with the operation of the ExpressVote XL

system in Northampton Countyi.n the November 2019 election.

        71.     Northampton County officials and ES&S have confirmed that the election day

issues with their voting systems were caused by 1) human error in programming the details of the

election into the system, and 2) imprecise factory configuration of a limited number of machines.

The first issue caused an error in the end-of-night tally report, but did not impact the paper

records or voting system screens. The second issue caused some machines to have some buttons

that were difficult to select.

        72.     The situation underscored the importance of having a paper record of each ballot

cast, as the county was able to re-scan every paper record of votes cast. Because the

Northampton County voting systems included voter-verifiable, auditable paper records of the

votes, the County was able to successfully recount the votes and avoid the need for a new

election.




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The Consequences of Decertification of the ExpressVote XL

       73.     As discussed above, the CoJilillonwealth imposed a December 31, 2019 deadline

for the Counties' purchase of voting systems with voter verifiable paper records.

       74.     In order to meet that deadline, the Counties moved quickly to evaluate and

purchase new systems and put them in place.

       75.     In the year since the Commonwealth certified the EVS 6021 system, a number of

Counties have purchased and installed the ExpressVote XL machines.

       76.     For example, Philadelphia County issued a request for proposals in November

2018, with a submission deadline of December 28, 2018. In February 2019, Philadelphia's City

Commissioners voted to purchase the ExpressVote XL system.

       77.     Northampton County selected the Express Vote XL system on March 6, 2019;

Cumberland County's Board of Elections voted to select the system on June 26, 2019.

       78.     Putting a new voting system in place takes a great deal of time. Counties must go

through the procurement process, select a system, physically acquire the machines, make any

changes to the voting infrastructure that the machines require, and hold training sessions for poll

workers and the public, and much more.

       79.     This entire process typically takes many months, and often over a year.

       80.     It is already too late for Counties to replace ExpressVote XL machines in time for

the 2020 primary, which will be held on April 28, 2020.

       81.     For example, Counties have usually taken about three to twelve months to review

and compare voting system options, assess equipment and storage needs, explore funding,

leasing, and financing options, and negotiate/procure contracts.




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       82.     Counties have typically taken at least three to eight months to seek delivery of the

new systems, conduct acceptance testing on the new systems, provide training of county election

personnel and poll workers, finalize and print ballots, conduct voter education campaigns,

progr@lll details of the elections into the equipment, and perform logic and accuracy testing.

       83.     Depending on the system selected, the county may also need to reevaluate polling

locations to ensure that those locations can accommodate the system's hardware configuration,

the system's physical footprint, or the system's unique power source needs. Because many

polling locations are housed in schools, municipal buildings, and churches, they are scheduled

months in advance of the day of the election.

       84.     Given the complexity of the system and .the short timeline involved, changing

voting systems in short time risks confusing voters and election personnel.




       I declare under penalty of perjury that the foregoing is true and correct.

Executedon~                /Z:, 2019.

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                                 United States Election Assistance Commission



                                     Certificate of Conformance




The voting system identified on this certificate has been evaluated at an accredited voting system testing la-
boratory for conformance to the Voluntary Voting System Guidelines Version 1.0 (VVSG 1.0) . Components
evaluated for this certification are detailed in the attached Scope of Certification document. This certificate
applies only to the specific version and release of the product in its evaluated configuration. The evaluation
has been verified by the EAC in accordance with the provisions of the EAC Voting System Testing and Cer-
tification Program Manual and the conclusions of the testing laboratory in the test report are consistent with
the evidence adduced. This certificate is not an endorsement of the product by any agency of the U.S. Gov-
ernment and no warranty of the product is either expressed or implied.


Product Name: EVS

Model or Version:   6.0.2.1

Name of VSTL:       SLI Compliance

EAC Certification Number:     ESSEVS6021                                    Executive Director


Date Issued: November 12, 2018                                       Scope of Certification Attached
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Manufacturer: Election Systems & Software         Laboratory: SLI Compliance
System Name: EVS 6.0.2.1                          Standard: VVSG 1.0 (2005)
Certificate: ESSEVS6021                           Date:      November 12, 2018




                        Scope of Certification
This document describes the scope of the validation and certification of the system defined
above. Any use, configuration changes, revision changes, additions or subtractions from the
described system are not included in this evaluation.

Significance of EAC Certification
An EAC certification is an official recognition that a voting system (in a specific configuration or
configurations) has been tested to and has met an identified set of Federal voting system
standards. An EAC certification is not:
    • An endorsement of a Manufacturer, voting system, or any of the system’s components.
    • A Federal warranty of the voting system or any of its components.
    • A determination that a voting system, when fielded, will be operated in a manner that
       meets all HAVA requirements.
    • A substitute for State or local certification and testing.
    • A determination that the system is ready for use in an election.
    • A determination that any particular component of a certified system is itself certified for
       use outside the certified configuration.

Representation of EAC Certification
Manufacturers may not represent or imply that a voting system is certified unless it has
received a Certificate of Conformance for that system. Statements regarding EAC certification in
brochures, on Web sites, on displays, and in advertising/sales literature must be made solely in
reference to specific systems. Any action by a Manufacturer to suggest EAC endorsement of its
product or organization is strictly prohibited and may result in a Manufacturer’s suspension or
other action pursuant to Federal civil and criminal law.

System Overview
The ES&S EVS 6.0.2.1 voting system is a modification of the ES&S EVS 6.0.0.0 voting system,
certified on July 2, 2018, which contains limited changes to the Electionware application. The
ES&S EVS 6.0.2.1 voting system is composed of software applications, central count location
devices and polling place devices with accompanying firmware, and COTS hardware and
software.
Electionware®
Electionware election management software is an end-to-end election management software
application that provides election definition creation, ballot formation, equipment


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configuration, result consolidation, adjudication and report creation. Electionware is composed
of five software groups: Define, Design, Deliver, Results and Manage.
ExpressVote XL™
ExpressVote XL is a hybrid paper-based polling place voting device that provides a full-face
touchscreen vote capture that incorporates the printing of the voter’s selections as a cast vote
record, and tabulation scanning into a single unit.
ExpressTouch®
ExpressTouch Electronic Universal Voting System (ExpressTouch) is a DRE voting system which
supports electronic vote capture for all individuals at the polling place.
ExpressVote® Hardware 1.0
ExpressVote Universal Voting System Hardware 1.0 (ExpressVote HW1.0) is a hybrid paper-
based polling place voting device that provides touch screen vote capture that incorporates the
printing of the voter’s selections as a cast vote record, to be scanned for tabulation in any one
of the ES&S precinct or central scanners.
ExpressVote® Hardware 2.1
ExpressVote Universal Voting System Hardware 2.1 (ExpressVote HW2.1) is a hybrid paper-
based polling place voting device that provides touch screen vote capture that incorporates the
printing of the voter’s selections as a cast vote record, and tabulation scanning into a single
unit. ExpressVote HW2.1 is capable of operating in either marker or tabulator mode, depending
on the configurable mode that is selected in Electionware.

There are two separate versions of the ExpressVote hardware version 2.1: 2.1.0.0 and version
2.1.2.0 (6.4 & 6.8). Please note that all future references to ExpressVote HW 2.1 as used
throughout the document refers to both hardware versions.
DS200®
DS200 is a polling place paper-based voting system, specifically a digital scanner and tabulator
that simultaneously scans the front and back of a paper ballot and/or vote summary card in any
of four orientations for conversion of voter selection marks to electronic Cast Vote Records
(CVR).
DS450®
DS450 is a central scanner and tabulator that simultaneously scans the front and back of a
paper ballot and/or vote summary card in any of four orientations for conversion of voter
selection marks to electronic Cast Vote Records (CVR).
DS850®
DS850 is a central scanner and tabulator that simultaneously scans the front and back of a
paper ballot and/or vote summary card in any of four orientations for conversion of voter
selection marks to electronic Cast Vote Records (CVR).




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Event Log Service (ELS)
ELS monitors and logs users’ interactions with the Election Management System. Events that
happen when a connection to the database is not available are logged to the Windows
Operating System log through the ELS.
Removable Media Service (RMS)
RMS is a utility that runs in the background of the Windows operating system. RMS reads
specific information from any attached USB devices so that ES&S applications such as
Electionware can use that information for media validation purposes.

Configurations
Within the scope of the ES&S EVS 6.0.2.1 voting system, three unique configurations are
supported, in order to accommodate limitations of components with the ES&S EVS 6.0.2.1
voting system.
Configuration A
ES&S EVS 6.0.2.1: Test Configuration A is comprised of the entire suite of voting system
products.
   • Electionware
   • ExpressVote Marker (HW 1.0)
   • ExpressVote Marker/Tabulator (HW 2.1)
   • ExpressVote XL
   • ExpressTouch
   • DS200
   • DS450
   • DS850
Configuration B
   •   Electionware
   •   ExpressVote Marker (HW 1.0)
   •   ExpressVote Marker/Tabulator (HW 2.1)
   •   DS200
   •   DS450
   •   DS850
Configuration C
   •   Electionware
   •   ExpressVote XL
Mark Definition
ES&S’ declared level mark recognition for the DS200, DS450 and DS850 is a mark across the oval
that is 0.02” long x 0.03” wide at any direction.

Tested Marking Devices
Bic Grip Roller Pen



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Language Capability
EVS 6.0.2.1 supports English, Spanish, Chinese (Cantonese), Korean, Japanese, Hindi, Bengali,
Vietnamese, Tagalog, Creole, Russian, and French. Configuration C also supports Punjabi and
Gujarati.

Proprietary Components Included
This section provides information describing the components and revision level of the primary
components included in this Certification.

                      Software or Firmware
 System Component                            Hardware Version      Model            Comments
                            Version
 Electionware                5.0.2.0
 ES&S Event Log              1.6.0.0
 Service
 Removable Media            1.5.0.0
 Service
 ExpressVote HW             1.5.1.0                 1.0                          Paper-based vote
 1.0                                                                           capture and selection
                                                                                      device
 ExpressVote                1.5.1.0
 Previewer (1.0)
 ExpressVote HW             2.4.3.0               2.1.0.0                      Hybrid paper-based
 2.1                                              2.1.2.0                        vote capture and
                                                                               selection device and
                                                                                  precinct count
                                                                                     tabulator
 ExpressVote                2.4.3.0
 Previewer (2.1)
 DS200                      2.17.0.0          1.2.1, 1.2.3, 1.3                   Precinct Count
                                                                                     Tabulator
 DS450                      3.1.0.0                 1.0                            Central Count
                                                                                    Scanner and
                                                                                     Tabulator
 DS850                      3.1.0.0                 1.0                            Central Count
                                                                                    Scanner and
                                                                                     Tabulator
 ExpressVote XL             1.0.1.0                 1.0                          Hybrid full-faced
                                                                                 paper-based vote
                                                                               capture and selection
                                                                                device and precinct
                                                                                  count tabulator
 ExpressTouch               1.0.0.0                 1.0                                 DRE
 ExpressVote                                        1.0           98-00049        Portable Voting
 Rolling Kiosk                                                                         Booth
 Voting Booth                                       N/A           98-00051       Stationary Voting
                                                                                       Booth
 ExpressVote Single                                 N/A            87033       Voting Table for One
 Table                                                                                  Unit
 ExpressVote                                        N/A            87032       Voting Table for Two
 Double Table                                                                          Units
 ADA Table                                          N/A            87031       Voting Table for One
                                                                                        Unit

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                        Software or Firmware
System Component                                  Hardware Version           Model                 Comments
                              Version
DS200 Ballot Box                                          1.0            98-00009            Collapsible Ballot Box
DS200 Ballot Box                                   1.2, 1.3, 1.4, 1.5     57521                Plastic ballot box
DS200 Ballot Box                                     1.0, 1.1, 1.2        76245                Metal ballot box
DS200 Tote Bin                                            1.0             00074               Tote Bin Ballot Box
DS450 Cart                                                N/A              3002
DS850 Cart                                                N/A              6823
Universal Voting                                          1.0            98-00077                Detachable ADA
Console                                                                                         support peripheral
Tabletop Easel                                           N/A              14040
ExpressTouch                                             N/A             98-00081               Stationary Voting
Voting Booth                                                                                          Booth
SecureSetup                   2.0.0.1                                                              Proprietary
                                                                                                Hardening Script

COTS Software
      Manufacturer                           Application                             Version
Microsoft Corporation                       Server 2008                         R2 w/ SP1 (64-bit)
Microsoft Corporation                 Windows 7 Professional                       SP1 (64-bit)
Microsoft Corporation         WSUS Microsoft Windows Offline Update                  11.1.1
                                               Utility
Symantec                                Endpoint Protection                        14.0.1 (64-bit)
Symantec                      Symantec Endpoint Protection Intelligent            20180116-002-
                                  Updater (File-Based Protection)               core3sdsv5i64.exe
Symantec                      Symantec Endpoint Protection Intelligent            20180115-040-
                                Updater (Network-Based Protection)            IPS_IU_SEP_14RU1.exe
Symantec                      Symantec Endpoint Protection Intelligent            20180108-003-
                                Updater (Behavior-Based Protection)             SONAR_IU_SEP.exe
Cerberus                          CerberusFTP Server – Enterprise                 9.0.3.1 (64-bit)
Adobe                                         Acrobat                                    XI
Microsoft Corporation                Visual C++ Redistributable              vc_redist.x86.exe (32-bit)
RSA Security                  RSA BSAFE Crypto-C ME for Windows 32-                     4.1
                                                 bit
OpenSSL                                       OpenSSL                                  2.0.12
OpenSSL                                       OpenSSL                                  2.0.16
OpenSSL                                       OpenSSL                                  1.02d
OpenSSL                                       OpenSSL                                  1.02h
OpenSSL                                       OpenSSL                                  1.02k

COTS Hardware
Manufacturer                                        Hardware                         Model/Version
EMS Server
EMS Client or Standalone
Workstation
Innodisk                                USB EDC H2SE (1GB) for ExpressVote      DEEUH 1-01GI72AC1SB
                                                       1.0
Innodisk                                     USB EDC H2SE (16GB) for            DEEUH 1-16GI72AC1SB
                                                 ExpressVote 2.1
Delkin                                           USB Flash Drive                      512MB, 1 GB,
                                                                                     2 GB, 4 GB, 8 GB
Delkin                                      Validation USB Flash Drive                    16 GB


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Delkin                          USB Embedded 2.0 Module Flash     MY16MGFSY-RA000-D /
                                             Drive                      16 GB
Delkin                            Compact Flash Memory Card             1 GB
Delkin                            Compact Flash Memory Card             6381
                                        Reader/Writer
Delkin                                    CFAST Card                     2GB, 4GB
Delkin                             CFAST Card Reader/Writer            DDREADER-48
CardLogix                                 Smart Card               CLXSU128kC7/ AED C7
SCM Microsystems                       Smart Card Writer                 SCR3310
Avid                                     Headphones                       86002
Zebra Technologies                QR code scanner (Integrated)        DS457-SR20009
Symbol                             QR Code scanner (External)             DS9208
Dell                                 DS450 Report Printer                S2810dn
OKI                             DS450 and DS850 Report Printer        B431dn/B431d
OKI                              DS450 and DS850 Audit Printer         Microline 420
APC                                       DS450 UPS                 Back-UPS Pro 1500
APC                                       DS850 UPS               Back-UPS RS 1500 or Pro
                                                                           1500
Tripp Lite                      DS450 and DS850 Surge Protector         Spike Cube
Seiko Instruments                       Thermal Printer                 LTPD-347B
NCR/Nashua                                Paper Roll                       2320
Fujitsu                                 Thermal Printer              FTP-62GDSL001/
                                                                     FTP-63GMCL153




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Configuration Diagrams
Configuration A




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Configuration B




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Configuration C




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System Limitations
This table depicts the limits the system has been tested and certified to meet.
                                                                               Limiting
 System Characteristic               Boundary or Limitation                    Component
 Max. precincts allowed in an        9,900                                     Electionware
 election

 Max. ballot styles in an election   15,000                                    Electionware


 Max. candidates allowed per         10,000                                    Electionware
 election

 Max. contests allowed in an         10,000                                    Electionware
 election

 Max. number of parties allowed      General election: 75                      Electionware
                                     Primary election: 30

 Max. District Types/Groups          25                                        Electionware

 Max. districts of a given type      250                                       Electionware

 Max. Contests allowed per ballot    500                                       N/A
 style

 Max. Reporting Groups in an         14                                        Electionware
 election

 Max. candidates allowed per         230                                       Electionware
 contest

 Max. “Vote For” per contest         230                                       Electionware

 Max. ballots per batch              1,500                                     DS450/DS850


Component Limitations:
Electionware
1. Electionware capacities exceed the boundaries and limitations documented for ES&S
     voting equipment and election reporting software. For this reason, ballot tabulator
     limitations define the boundaries and capabilities of Electionware system.
2. Electionware software field limits were calculated using default text sizes for ballot and
     report elements. Some uses and conditions, such as magnified ballot views or combining
     elements on printed media or ballot displays, may result in limits lower than those listed in
     the System Overview.
3. The Electionware Export Ballot Images function is limited to 250 districts per export.
4. Electionware is limited to the language special characters listed in the System Overview.
     Language special characters other than those on this list may not appear properly when
     viewed on equipment displays or reports.


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5.  The Straight Party feature must not be used in conjunction with the Single or Multiple
    Target Cross Endorsement features.
6. The ‘MasterFile.txt’ and the ‘Votes File.txt’ do not support results for elections that contain
    multiple sheets or multiple ExpressVote cards per voter. These files can be produced using
    the Electionware > Reporting > Tools > Export Results menu option. This menu option is
    available when the Rules Profile is set to “Illinois”.
Paper Ballot Limitations
1. The paper ballot code channel, which is the series of black boxes that appear between the
    timing track and ballot contents, limits the number of available ballot variations depending
    on how a jurisdiction uses this code to differentiate ballots. The code can be used to
    differentiate ballots using three different fields defined as: Sequence (available codes 1-
    16,300), Type (available codes 1-30) or Split (available codes 1-18).
2. If Sequence is used as a ballot style ID, it must be unique election-wide and the Split code
    will always be 1. In this case the practical style limit would be 16,300.
3. The ExpressVote activation card has a limited ballot ID based on the three different fields
    defined as: Sequence (available codes 1-16,300), Type (available codes 1-30) or Split
    (available codes 1-18).
4. Grid Portrait and Grid Landscape ballot types are New York specific and not for general
    use.
ExpressVote
1. ExpressVote capacities exceed all documented limitations for the ES&S election
    management, vote tabulation and reporting system. For this reason, Election Management
    System and ballot tabulator limitations define the boundaries and capabilities of the
    ExpressVote system as the maximum capacities of the ES&S ExpressVote are never
    approached during testing.
ExpressVote XL
1. ExpressVote XL capacities exceed all documented limitations for the ES&S election
    management, vote tabulation and reporting systems. For this reason, Election
    Management System and ballot tabulator limitations define the boundaries and
    capabilities of the ExpressVote XL system as the maximum capacities of the ES&S
    ExpressVote XL are never approached during testing.
2. ExpressVote XL does not offer open primary support based on the ES&S definition of Open
    Primary, which is the ability to select a party and vote based on that party.
3. ExpressVote XL does not support Massachusetts Group Vote.
4. ExpressVote XL does not support Universal Primary Contest.
5. ExpressVote XL does not support Multiple Target Cross Endorsement.
6. ExpressVote XL does not support Reviewer or Judges Initials boxes.
7. ExpressVote XL does not support multi-card ballots.
8. In a General election, one ExpressVote XL screen can hold 32 party columns if set up as
    columns or 16 party rows if set up as rows.
9. ExpressVote XL does not support Team Write-In.
ExpressTouch
1. ExpressTouch capacities exceed all documented limitations for the ES&S election
    management, vote tabulation and reporting systems. For this reason, Election
    Management System limitations define the boundaries and capabilities of the

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    ExpressTouch system as the maximum capacities of the ES&S ExpressTouch are never
    approached during testing.
2. ExpressTouch does not offer open primary support, which is the ability to select a party
    and vote based on that party.
3. ExpressTouch does not support Massachusetts Group Vote.
4. ExpressTouch does not support Universal Primary Contest.
5. ExpressTouch does not support Multiple Target Cross Endorsement.
6. ExpressTouch does not support Team Write-In.
DS200
1. The ES&S DS200 configured for an early vote station does not support precinct level results
   reporting. An election summary report of tabulated vote totals is supported.
2. The DS200 storage limitation for write-in ballot images is 3,600 images. Each ballot image
    includes a single ballot face, or one side of one page.
3. Write-in image review requires a minimum 1GB of onboard RAM.
4. To successfully use the Write-In Report, ballots must span at least three vertical columns. If
    the column is greater than 1/3 of the ballot width (two columns or less), the write-in image
    will be too wide to print on the tabulator report tape.

Functionality
VVSG 1.0 Supported Functionality Declaration
 Feature/Characteristic                                                       Yes/No Comment
 Voter Verified Paper Audit Trails
 VVPAT                                                                        No
 Accessibility
 Forward Approach                                                             Yes
 Parallel (Side) Approach                                                     Yes
 Closed Primary
 Primary: Closed                                                              Yes
 Open Primary
 Primary: Open Standard (provide definition of how supported)                 Yes   Configuration B only
 Primary: Open Blanket (provide definition of how supported)                  No
 Partisan & Non-Partisan:
 Partisan & Non-Partisan: Vote for 1 of N race                                Yes
 Partisan & Non-Partisan: Multi-member (“vote for N of M”) board races        Yes
 Partisan & Non-Partisan: “vote for 1” race with a single candidate and       Yes
 write-in voting
 Partisan & Non-Partisan “vote for 1” race with no declared candidates        Yes
 and write-in voting
 Write-In Voting:
 Write-in Voting: System default is a voting position identified for write-   Yes
 ins.
 Write-in Voting: Without selecting a write in position.                      Yes
 Write-in: With No Declared Candidates                                        Yes
 Write-in: Identification of write-ins for resolution at central count        Yes
 Primary Presidential Delegation Nominations & Slates:


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Feature/Characteristic                                                        Yes/No Comment
Primary Presidential Delegation Nominations: Displayed delegate slates        No
for each presidential party
Slate & Group Voting: one selection votes the slate.                          No
Ballot Rotation:
Rotation of Names within an Office; define all supported rotation             Yes
methods for location on the ballot and vote tabulation/reporting
Straight Party Voting:
Straight Party: A single selection for partisan races in a general election   Yes
Straight Party: Vote for each candidate individually                          Yes
Straight Party: Modify straight party selections with crossover votes         Yes
Straight Party: A race without a candidate for one party                      Yes
Straight Party: N of M race (where “N”>1)                                     Yes
Straight Party: Excludes a partisan contest from the straight party           Yes
selection
Cross-Party Endorsement:
Cross party endorsements, multiple parties endorse one candidate.             Yes
Split Precincts:
Split Precincts: Multiple ballot styles                                       Yes
Split Precincts: P & M system support splits with correct contests and        Yes
ballot identification of each split
Split Precincts: DRE matches voter to all applicable races.                   Yes
Split Precincts: Reporting of voter counts (# of voters) to the precinct      Yes   It is possible to list the
split level; Reporting of vote totals is to the precinct level                      number of voters.
Vote N of M:
Vote for N of M: Counts each selected candidate, if the maximum is not        Yes
exceeded.
Vote for N of M: Invalidates all candidates in an overvote (paper)            Yes
Recall Issues, with options:
Recall Issues with Options: Simple Yes/No with separate race/election.        No
(Vote Yes or No Question)
Recall Issues with Options: Retain is the first option, Replacement           No
candidate for the second or more options (Vote 1 of M)
Recall Issues with Options: Two contests with access to a second contest      No
conditional upon a specific vote in contest one. (Must vote Yes to vote in
 nd
2 contest.)
Recall Issues with Options: Two contests with access to a second contest      No
                                                                       nd
conditional upon any vote in contest one. (Must vote Yes to vote in 2
contest.)
Cumulative Voting
Cumulative Voting: Voters are permitted to cast, as many votes as there       No
are seats to be filled for one or more candidates. Voters are not limited
to giving only one vote to a candidate. Instead, they can put multiple
votes on one or more candidate.
Ranked Order Voting


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Feature/Characteristic                                                         Yes/No Comment
Ranked Order Voting: Voters can write in a ranked vote.                        No
Ranked Order Voting: A ballot stops being counting when all ranked             No
choices have been eliminated
Ranked Order Voting: A ballot with a skipped rank counts the vote for          No
the next rank.
Ranked Order Voting: Voters rank candidates in a contest in order of           No
choice. A candidate receiving a majority of the first choice votes wins. If
no candidate receives a majority of first choice votes, the last place
candidate is deleted, each ballot cast for the deleted candidate counts
for the second choice candidate listed on the ballot. The process of
eliminating the last place candidate and recounting the ballots continues
until one candidate receives a majority of the vote
Ranked Order Voting: A ballot with two choices ranked the same, stops          No
being counted at the point of two similarly ranked choices.
Ranked Order Voting: The total number of votes for two or more                 No
candidates with the least votes is less than the votes of the candidate
with the next highest number of votes, the candidates with the least
votes are eliminated simultaneously and their votes transferred to the
next-ranked continuing candidate.
Provisional or Challenged Ballots
Provisional/Challenged Ballots: A voted provisional ballots is identified      Yes
but not included in the tabulation, but can be added in the central count.
Provisional/Challenged Ballots: A voted provisional ballots is included in     Yes
the tabulation, but is identified and can be subtracted in the central
count
Provisional/Challenged Ballots: Provisional ballots maintain the secrecy       Yes
of the ballot.
Overvotes (must support for specific type of voting system)
Overvotes: P & M: Overvote invalidates the vote. Define how overvotes          Yes
are counted.
Overvotes: DRE: Prevented from or requires correction of overvoting.           Yes
Overvotes: If a system does not prevent overvotes, it must count them.         Yes
Define how overvotes are counted.
Overvotes: DRE systems that provide a method to data enter absentee            Yes
votes must account for overvotes.
Undervotes
Undervotes: System counts undervotes cast for accounting purposes              Yes
Blank Ballots
Totally Blank Ballots: Any blank ballot alert is tested.                       Yes
Totally Blank Ballots: If blank ballots are not immediately processed,         Yes
there must be a provision to recognize and accept them
Totally Blank Ballots: If operators can access a blank ballot, there must be   Yes
a provision for resolution.
Networking
Wide Area Network – Use of Modems                                              No


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 Feature/Characteristic                                     Yes/No Comment
 Wide Area Network – Use of Wireless                        No
 Local Area Network – Use of TCP/IP                         No
 Local Area Network – Use of Infrared                       No
 Local Area Network – Use of Wireless                       No
 FIPS 140-2 validated cryptographic module                  Yes
 Used as (if applicable):
 Precinct counting device                                   Yes   DS200, ExpressTouch,
                                                                  ExpressVote HW2.1,
                                                                  ExpressVote XL
 Central counting device                                    Yes   DS450 and/or DS850

Baseline Certification Engineering Change Order’s (ECO)
There are not any ECO’s certified with the voting system.




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Top problems
                 The examination identified three problems that could reduce the ability of
                 people with disabilities to vote independently and privately.


                 1. Automatic selection and deselection

                 What happened
                 • Voters were confused by the automatic selection and deselection that is
                    part of straight party voting.
                     o When you make a manual selection to override your straight party, all
                         the straight party choices are deselected automatically. The XL does
                         not completely announce the deselections. Deselects may not be
                         visible onscreen, if happen on a screen.
                     o If you want to vote for no one, you cannot deselect all candidates if
                         there’s an eligible candidate selected by straight party vote.
                     o Touching a straight party candidate (for emphasis or deselection),
                         deselected the other candidates.
                 • In some cases, this led voters to cast a ballot without knowing all of the
                    candidates that had been selected. This problem is exacerbated by the
                    inability of any of our voters or poll-workers to successfully validate the
                    printed ballot on the XL.
                 • Voters marking choices manually, with no straight party selection, were
                    always clear what was selected and deselected.


                 Why this is a problem
                 The system relies on voters both perceiving the change in selections and
                 understanding why those changes happened.

                 The effect is that the voting system appears to act in inconsistent ways,
                 forcing voters into time-consuming problem-solving that takes them away
                 from their primary task of voting.



Accessibility testing of the ES&S ExpressVote and ExpressVote XL                                  13
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                 Depending on how easily they can use the technology or how confused they
                 are about what is happening, some voters would have to ask for assistance.
                 This is not only a failure to vote independently, but identifying and solving
                 the problem requires revealing their votes to a poll worker or assistant.

                 This problem affected voters with a variety of disabilities.

                  Type of disability            Impact of the problem

                  Cognitive                     Seemingly unpredictable and inconsistent
                                                machine response can be confusing and
                                                frustrating.

                  Low vision                    Changes to selections may be made out of their
                                                view because they are made off-screen or
                                                because they are not focused on the part of the
                                                screen where the change happens.

                  Low literacy                  Voters with low digital or reading literacy also
                                                have a narrow range of focus and can miss cues
                                                on different parts of the screen

                  Blind or very low vision      Because the audio does not announce the
                                                deselections, changes to candidates higher on
                                                the list are not identified unless the voter cycles
                                                back through the list. If they don’t cycle back,
                                                they may never notice the problem.




                 Recommendations
                 Legally, the machines must comply with the Pennsylvania Method, but that
                 interaction should happen in ways that fully inform the voter of what has
                 happened, and how to express their preferences.

                 • Put voters in control and do not allow the system to make any automatic
                    selections or deselections after straight-party voting selections are
                    applied..
                 • Improve the feedback messages to tell voters what is happening –
                    including number and names of the candidates being deselected.



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                 • Provide feedback on the reason for the changes in selections and the
                    interaction with straight-party choices.




                 2. Inconsistency in navigation
                 In both the visual and audio navigation, there were enough small problems
                 of inconsistency or poor instructions to create a cumulative effect. This issue
                 is most serious for voters using the audio ballot without the visual display.

                 Every participant had at least one problem, despite relatively high election
                 knowledge and digital experience, suggesting that the issue would be more
                 severe for voters without these personal resources to help them understand
                 what it happening.


                 What happened
                 Small inconsistencies in the navigation patterns or the audio instructions
                 forced participants to stop and figure out what was wrong or how to do
                 something.

                 Many of these small issues caused them to need to ask for assistance – easy
                 to do in the examination, but much harder in a polling place.

                 In some cases, their attempts to guess at a solution caused even more
                 problems.

                 Example: reviewing and correcting a write-in
                 An example of this cascading of problems occurred when blind voters tried
                 to write in the name of a candidate. Throughout the system, voters can push
                 the left arrow key to review their previous selection. As a result, two voters
                 used the left arrow to try to review what they’d typed in a write-in. When they
                 pushed the key, they exited the write-in screen and lost the characters they
                 had typed.




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                 This problem was compounded by other challenges of using the tactile
                 keypad for write-ins:
                 • Using the tactile keypad to enter text is a slow process requiring voters to
                    scan through the alphabet one letter at a time to spell a name.
                 • When they were not sure of the letters that had been selected, or wanted
                    to check their spelling, they could not find a way to do this.
                 • All of the participants knew that a misspelled write-in would not be
                    counted, but could not figure out how to review what was typed.
                 • If they had not listened carefully to the full instructions or had not cycled
                    through all 26 letters, they did not know that there was a backspace key.

                 Example: Overvote messages
                 Throughout the system, voters can push the right and up/down arrows to
                 proceed forward. But when the user attempts a selection that would result in
                 an overvote, the error message is shown on a new screen, without audio
                 notification of the change of context. The only way to move forward after the
                 message is using the left arrow.

                 The problem was hardest on people using the audio ballot:
                 • The instructions on the error message include general instructions for
                    navigating within the contest, so it’s not clear that the user must use the
                    left (back) arrow to return to the contest.
                 • These instructions included using the up and down arrows to move
                    through the contest.
                 • When voters tried using the arrows immediately a message announced
                    that the up and down arrows did not work here, but then repeated the
                    instructions to use the arrows to deselect a candidate before selecting a
                    new one.

                 Example: Button labeling
                 Buttons for different actions in different screens sometimes have the same
                 labels.




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                 • On the XL, the “Cast” button on the review screen prints the ballot for
                    review. The “Cast” button on subsequent screens actually casts ballot into
                    the built-in box.
                 • The audio narration often doesn’t use the same words as the on-screen
                    buttons. On the XL, it says “print” your ballot instead of “casting it.”


                 Why this is a problem
                 People who use assistive technology rely on quickly learning patterns for
                 basic navigation. An example is this comment from a voter: “If it is true to
                 what it did before, I should be able to push the arrow to move to the next
                 issue.”

                 Breaking these patterns is a usability problem that is amplified for voters
                 using the audio ballot or with cognitive limitations. In both cases, they have
                 fewer resources to perceive and solve the problem.

                 These problems often happen in the middle of the ballot where assistance
                 could also violate privacy.


                 Recommendations
                 Many of these problems were relatively easy to find during the expert review,
                 and confirmed through observing voters.

                 • Examine all audio instructions on messages to be sure critical information
                    is in an order that puts specific information for the current task or screen
                    before general, repeated instructions.
                 • No destructive action should ever take place without explicit confirmation
                    from the voter. In the example above, the system could save write-in
                    entry until the voter leaves that contest so that moving back to the contest
                    using the left-arrow is not destructive. It could also warn voters when
                    partially completed write-in entries will be discarded.

                 Review the visual interface to make sure buttons that do similar things have
                 the same label. Also use key words like “cast” and “print” consistently
                 throughout the system. Better usability testing with voters with a range of


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                 disabilities during system development would have prevented many of these
                 problems.


                 3. Verification is possible, but challenging
                 The move to voting systems with paper ballots provides voters with an
                 opportunity to verify their ballot. We wanted to know whether verification
                 can be part of the normal course of voting for voters with disabilities on
                 systems being examined.


                 What happened
                 In this examination, we tested systems with two different models for paper
                 handling and verification.

                 Model 1. Voters can handle the printed ballot
                 In this model, tested on the ExpressVote, the system ejects the ballot after
                 printing, so it can be cast in the ES&S scanner. This method requires voters to
                 handle the ballot, but also makes it possible for voters to use personal
                 technology such as magnifiers or text readers to read the paper ballot.

                 • All our participants were able to verify the ballot if they wanted to.
                 • 2 blind voters tried using personal text readers and were generally
                    successful, though one with more difficulty.
                 • Voters with vision were able to read the small text with difficulty.

                 The ballot can be read back to the screen by reinserting it and reviewing (but
                 not changing) selections.
                 • Some participants tried reviewing their ballots this way and were happy
                    with it.
                 • 1 blind voter, who had struggled to enter a write-in and wanted to confirm
                    what was on the ballot, found that the actual text of the write-in is not
                    included in the review because it is not encoded in the paper ballot
                    barcodes.




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                 Although we were not able to test with voters with limited dexterity, we
                 believe:
                 • Most would be able to move the ballot to a stable surface for examination
                 • The ballot requires some force to remove it from the system. We did not
                    test the amount of force required, but some voters might require
                    assistance.

                 Model 2. The ballot is presented behind glass
                 In this model, tested on the ExpressVote XL, the system prints the ballot,
                 displays it under a glass panel, and then casts the ballot by automatically
                 depositing the paper ballot in a container while it records the vote
                 electronically. This means that voters do not have to handle the ballot, but
                 also makes it impossible for voters to use personal technology such as
                 magnifiers or text readers to read the paper ballot.

                 Some of the participants were surprised that they did not get the ballot back
                 when they pressed “cast.” As the ballot went into the XL ballot box, one voter
                 said, “It didn’t come out!”

                 • None of the participants could verify the ballot in the glass cage:
                    • Blind voters had no access to the ballot to use personal technology
                    • Low vision voters could not position the ballot so they could read the
                       small text
                    • Other voters had problems reading the ballot because of glare and
                       because the sides of the ballot were obscured by the cage.
                 • Although it is possible to have the ballot ejected to handle it while
                    verifying, the procedure is unclear and it requires voters to tell the system
                    they want to “Quit” and call a poll worker.


                 Why this is a problem
                 The purpose of accessible voting options is to give people with disabilities the
                 same opportunity to mark, verify and cast their ballot as other voters.




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                 Recommendations
                 • Require the paper ballot to include an encoding of write-in text so it can be
                    read back when the ballot is reinserted.
                 • Change the process for ejecting a ballot on the XL (or the auto-cast option
                    on the ExpressVote) so that it can be done independently by the voter.
                 • Ensure that the systems with an auto-cast capability are set up so that
                    they can work for people with no use of their hands.




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All observations

Positives
 Function        Observation                                                   System   Severity

 Keypads         The layout of the primary navigation keys was familiar to      Both    Positives
                 all participants who use tactile controls.

 Audio           The audio running when the voter approaches the                 EV     Positives
                 system tells them how and where to insert the ballot
                 making it possible for them to start the voting session
                 independently.
                 This included (on the Express Vote) giving instructions to
                 correct the orientation of the ballot

 Audio           Several participants said the synthesized voices are clear     Both    Positives
                 and easy to hear, with enough volume.

 Audio           The range of speech speeds provided was adequate,              Both    Positives
                 though some of our voters indicated that they would
                 prefer faster speech.

 Display         Blind voters liked the option to hide the visual display or     EV     Positive
                 not at any time.
                 (This feature is not available on the XL.)

 Display         The XL screen can be physically adjusted to change the          XL     Positive
                 angle of the screen to make it easier to reach or remove
                 glare.

 Audio /         One voter favorably compared the option for                    Both    Positive
 Display         simultaneous, synchronized audio and visual display to
                 the system she currently uses, where this is not an
                 option.
                 Note: Synchronized audio and video is required in VVSG
                 1.0+




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 Function        Observation                                                        System        Severity

 Audio           Some of the messages were helpful and elicited                       EV          Positives
 messages        comments. For example, after checking a vote by going
                 from the review screen to the contest and then back to
                 the review screen, one participant liked that the audio
                 confirmed what screen it was on.

 Navigation      The “out-and-back” navigation from the review screen to             Both         Positives
                 a contest and back was helpful and made it easy to
                 quickly correct a selection.

 Messages        A blind participant liked the message about not having               EV          Positives
                 seen all of the candidates in a contest, so that she didn’t
                 miss anyone.




Ambiguous issues
 Function         Observation                                            System      Severity

 Keypads          The XL keypad is used by poll workers to activate            XL    Set up
                  the ballot. Even though ballot activation buttons
                  appear on screen, the poll worker has to use the
                  keypad to continue.
                  • The advantage is that every XL system will
                     have a tactile keypad available and working,
                  • The disadvantage is that this means it can be
                     difficult to handle while giving it to a voter.
                  A longer cord would make it easier to hand the
                  keypad to a voter without having to pass it under
                  the screen and around the support structure.
                  There should be easy to reach racks to place the
                  keypad in between uses, rather than balancing it
                  on the top of the base of the machine.

 Keypads          Both systems have an audio jack that is                  Both      Needs
                  positioned so a voter can easily plug in their own                 assistance
                  headset and can be found by feel.
                  • On the XL, the jack is on the keypad



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 Function         Observation                                           System   Severity
                  • On the EV, it is on the front of the device
                     below the screen
                  However, on both systems:
                  • The labels are black text on a white strip and
                     not tactilely discernable.
                  • The jacks can easily be confused with the
                     similarly labeled jack for the dual switch or
                     other personal technology.
                  A blind advocate participant suggested that a
                  raised headset icon would be an easily recognized
                  symbol to solve this problem

 Messages         Some of the participants thought a screen              Both    Problem
                  required them to take action when it didn’t                    solving
                  • Selecting a party. One poll worker asked if it
                     was possible to vote without a straight party
                     when they reached the straight party screen
                  • The undervote warning screen led several
                     voters to believe that they were forced to vote
                     the full count. They did not listen long enough
                     to know that they could go forward from that
                     screen.
                  • Trying to not vote for anyone, a participant
                     tried putting in a blank write-in. They felt the
                     process seems to be forcing a vote,
                     commenting, “I guess you have to put
                     something.”

 Keypads          On the XL, voters felt that the keypad was “busy,”      XL     Annoyance
                  containing too many keys. While the Braille labels
                  were easily read their positioning was not always
                  clearly related to the controls.

 Keypads          On the XL, the buttons may trigger twice, making        XL     Annoyance
                  them too “responsive.” Voters with a mild tremor
                  might, for example, move back two contests, not
                  just one. A small latency in the key response
                  coding would prevent this.



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 Function         Observation                                            System    Severity

 Messages         Both systems gave users a message if they had           Both     Annoyance
                  undervoted as they left a contest. This is a generic             Or
                  message which inserts the name of the contest,
                                                                                   Problem
                  but not how many candidates can be or have
                                                                                   solving
                  already been selected.
                  • The message itself was initially confusing, but
                     then easily understood.
                  • Once the message was understood, it quickly
                     became mildly annoying.
                  • The same message is repeated as the voter
                     leaves the review screen. Some of the
                     participants took this as a strong nudge to
                     fully vote in every contest.
                  However, the EV audio does announce when a
                  multi-select contest is “fully voted,” which
                  participants who heard this message found
                  helpful.

 Display          We have not done a detailed analysis, but we            Both     Annoyance
                  noticed several places where button labels were                  Or
                  not consistent between the two systems. This is
                                                                                   Problem
                  not a problem for a voter using just one system,
                                                                                   solving
                  but adds to the complexity of creating voter
                  education and poll worker materials across the
                  state, or for voters who move between counties
                  using different systems.




Problems
 Function       Observation                                            System     Severity

 Display        The EV screen cannot be physically adjusted to           EV       Potential
                change the angle of the screen to make it easier                  Show stopper
                to reach or remove glare. There is a stand on the
                back of the device, but it is not adjustable.




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 Function       Observation                                           System   Severity

 Display        The visual cues for the location of the cursor (the    Both    Potential
                indication of what’s currently selected) are                   Show stopper
                difficult to interpret, especially for people with
                low vision.
                • On the XL, the dotted-line perimeter was not
                   visible at all for participants with low vision
                   and difficult to see for others.
                • On the EV, using the same background color
                   for the cursor location and selected
                   candidates was confusing. Voters thought the
                   item with focus was selected and would try to
                   deselect it, resulting in the candidate being
                   selected.

 Keypads        The labels on the XL tactile keypad are black on        XL     Need
                black making them almost impossible for anyone                 assistance
                to read.

 Display        On the XL, the transition between screens was           XL     Problem
                very subtle and participants often changed                     solving
                screens without noticing. Having the contest title
                in the center of the screen and the contests at
                the far left added to the problem. A low-vision
                users said, “I saw some shaded areas here (on
                the left) but thought that these were from the
                previous vote. I thought the middle was where I
                was voting now.” (The shaded area is actually the
                current contest.”

 Display        In several places, the button labels are               Both    Annoyance or
                inconsistent within a system, especially error                 Problem
                messages. These small inconsistencies are                      solving
                magnified for a voter who cannot see the screen,
                where the position of the button or any icons on
                them are additional cues.

 Keypads        Some of the Braille labels on the EV tactile            EV     Need
                keypad are abbreviated, making them difficult to               assistance




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 Function       Observation                                             System   Severity
                understand: “TPO” for Tempo, the label on
                volume, and “PS” for pause

 Keypads        One participant (P5) was concerned that the               EV     Need
                controls on the EV tactile keypad are too small                  assistance
                for some blind users with limited feeling in their
                fingers, for example from diabetic-related
                blindness.

 Keypads        Using the XL, a low vision voter tried to follow          XL     Needs
                instructions to press the “square” button.                       assistance or
                Unfortunately, there are two, and he ended up in                 Problem
                the keypad tutorial rather than having pressed                   solving
                select.

 Keypads        The Home key works in different ways,                    Both    Problem-
                depending on where the cursor is on the screen.                  solving
                • From the list of selections, it goes back to the
                   contest header to begin reading again from
                   the top of the page.
                • From the contest header, it goes back to the
                   first (straight-party) contest.
                For the blind voter (the intended user of this
                button), there is no clear indication of where the
                cursor is currently located, so it is not possible to
                predict the action.

 Keypads        There were some concerns about the number of             Both    Annoyances
                the keys:
                • [P3] Thought the XL pad has too many keys
                • [P6] thought the EV pad had too many keys
                   and was too small

 Keypads        The “Repeat” key only repeats the last action or         Both    Annoyance
                audio instruction. Several participants wanted to
                use this to go back to the top of the contest.

 Keypads        There is a key to blank the screen on the [EV] but        EV     Annoyance
                not the [XL].




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 Function       Observation                                             System   Severity

 Keypads        The Home button on the EV is used like the Info           EV     Annoyance
                on the XL, so the label is not helpful.

 Keypads        Audio instructions are on the initial screen. If the      EV     Annoyance
                voter decides that they would like audio after
                they get to the ballot, the audio is silent until the
                voter changes selections.

 Keypads        There is no feedback when the volume or tempo             EV     Annoyance
                buttons are pressed. A sound or confirmation
                (such as “volume up” or “tempo faster”) would be
                helpful.
                On the XL, the volume keys announce “Volume
                up/down.”

 Keypads        When the audio is paused, a participant was               EV     Annoyance
                confused when the audio did not begin again
                when she navigated to a new contest.
                “If I move to another candidate or contest, it
                should start speaking again without having to
                press Pause again (to restart it)”

 Keypads        The audio includes instructions for the dual             Both    Annoyance
 (Audio)        switch and sip-and-puff, even if no device is
                plugged into the jack. An ideal system would
                detect input device and adjust the audio to the
                combination of controls.

 Keypads        The audio reads all instructions for using the           Both    Annoyance
 (Audio)        keypads even if the voter is using the touch
                screen. An ideal system would detect this and
                adjust the audio to the combination of controls
                to avoid the lengthy instructions that are not
                needed.

 Ballot         On the XL, selecting “Large Text” changes the             XL     Showstopper
 Text size      screen to a contest-by-contest display, but does
                not make the text size very much larger.
                This forces low vision users who simply need
                slightly larger text into using the audio ballot.




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 Function       Observation                                          System   Severity
                One participant with very low vision put his face
                so close to the screen that he accidentally made
                selections with his nose.

 Ballot         Reading the judicial retention instructions and        XL     Annoyance
 Layout         the referendum question, the line length is so
                long that participants had to swivel their head to
                visually track across a line of text.

 Ballot         The layout of the contest on the very wide screen      XL     Annoyance
 Layout         meant that the title of the contest (centered on
                the screen) and the number of selections was
                very far from the list of candidates(on the left
                margin).

 Ballot         The audio on the XL does not announce the              XL     Show stopper
 (Audio)        party of each candidate. This made it impossible
                to complete tasks based on party, including
                confirming straight party selections.
                “I’d assume that is the Democrat because I
                picked them for straight party.” [P3]

 Ballot         If a voter attempted to make too many selections       XL     Needs
 (Audio)        on a vote-for-N-of-M contest (overvote), a            Both?   assistance
                message informs them of the problem. It was
                not clear to blind voters that they were on a
                separate message screen.
                The audio on the overvote message includes the
                general instructions for using the arrow keys,
                even though these keys are not active on the
                message. The message about how to return to
                the contest screen comes after the general
                instructions, where voters missed it
                They needed either extensive problems solving
                or support to get back to the contest.

 Ballot         In the audio announcement of each contest, the        Both    Problem
 (Audio)        information about how many can be selected is                 solving
                easy to miss, and the information about how
                many candidates have already been selected is



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 Function       Observation                                            System   Severity
                either missing, or placed at the end of the
                standard instructions where none of the
                participants heard it. This is especially important
                if a straight party option was selected. Changing
                the order of the instructions would make it
                easier for blind voters to keep track of their
                progress

 Ballot         After returning to the contest from the overvote       Both     Problem
 (Audio)        message, participants were confused that the                    solving
                last candidate was not selected and had to
                puzzle their way through the problem

 Ballot         There is no option to ask the system to spell out        Both   Annoyance
 (Audio)        a candidate name.
                • This is not normally a problem, but could
                   make it difficult to distinguish candidates
                   with very similar-sounding names (Smith and
                   Schmidt, for example).
                • This capability is a standard feature of screen
                   readers, so voters who use that technology
                   may expect it.

 Ballot         A candidate endorsed by both parties was only             XL    Problem
                visually identified as being from one of them.                  solving
                The straight party logic, however, selected here
                for each of the two parties.
                On the full-face ballot, this was visually confusing
                because it showed a candidate selected in the
                “wrong” column.

 Ballot         Listening to the list of candidates, participants        Both   Annoyance
 (Audio)        often skipped to the next one as soon as they
                heard the name, sometimes missing the
                announcement that the candidate was selected.


                One voter suggested announcing “You selected”
                before the name of the candidate in these cases.




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 Function       Observation                                         System       Severity

 Ballot         When the voter has reached the last choice, the        XL        Annoyance
 (Audio)        audio announces this, but pressing the down-
                arrow does nothing. A participant suggested that
                it should repeat “Last choice” or “You have heard
                all of the choices.”

 Ballot         Several participants, including poll workers,          EV        Problem
 (Straight      hesitated at the screen for straight party,         XL (large)   solving
 Party)         wondering if you had to select a party to
                continue.
                Better instructions or an option for “No straight
                party selection” would be helpful

 Ballot         The interaction with changing straight party          Both       Problem
 (Straight      selections was confusing in several ways:                        solving
 Party)         • Trying to select just one candidate from a                    Or
                   group selected by straight party produced                     Needs
                   inconsistent results, depending on the exact                  assistance
                   configuration of the candidates.
                    o If a participant tries to deselect a
                       candidate, it resulted in that candidate
                       being selected and others deselected.
                    o If they tied to select a candidate from
                       another party, all of the straight party
                       selections were deselected, even if the
                       new selection was within the number of
                       options available.
                • Participants using the audio ballot did not
                   always notice when candidates were
                   deselected, especially if they were higher in
                   the list when the deselection occurred.
                    o When multiple candidates were
                       deselected by this process, only the first
                       was announced on the XL.
                • Participants using the audio ballot were
                   surprised to hear that other candidates were
                   deselected and only found that out when




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 Function       Observation                                           System   Severity
                    they reviewed the contest or were told they
                    overvoted.

 Ballot         Not being able to clear all selections on a contest    Both    Needs
 (Straight      with an available straight party option was very               assistance
 Party)         confusing.                                                     Or
                • One participant described it as having                      Show stopper
                   candidates “popping up” and was unable to
                   figure out why this was so.
                • One participant did not understand why she
                   was not able to deselect a candidate, not
                   understanding that it was related to her
                   straight party selection.
                • 2 participants created a write-in for “None” as
                   a way of being able to clear all candidates
                   and vote for no one.
                • When participants deselected all the straight
                   party options, the resulting alert message
                   was very confusing. Several participants did
                   not figure out that the problem was related
                   to straight party voting.
                     o None of the participants wanted to go
                        back, change their straight party choice
                        and recreate their selections to vote for
                        no one, as the message suggested.
                • On the XL, this would be a show-stopper for
                   someone using the audio ballot because
                   party affiliations were not read out.
                     o One voter described her current voting
                        machine as having a clear way to vote for
                        none on each contest.

 Write-in       When trying to enter a write-in, participants          Both    Needs
                paused and had to figure out how to actually                   assistance
                select the write-in choice to enter a name, in
                many cases needing assistance. On the EV, the
                audio narration does not explain that you must
                push the select key to enter a write-in.


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 Function       Observation                                          System   Severity

 Write-in       One participant did not see where the candidate        XL     Needs
                name was written on the contest screen.                       assistance

 Write-in       Using the tactile keypad and audio, it was not        Both    Needs
 (Audio)        clear how to correct a misspelling because                    assistance
                participants did not realize that there were keys
                for space, backspace and so on. The initial audio
                instructions don’t mention the backspace and
                space keys.

 Write-in       The Info (XL) or Home (EV) button makes the           Both    Needs
 (Audio)        system read what’s been entered, but no                       assistance
                participants found this even though they wanted
                it.

 Write-in       When returning to the write-in screen with an         Both    Needs
 (Audio +       entry already made, there is no indication of                 assistance
 Visual)        where the cursor is placed, that is, where the
                next character will be entered.

 Write-in       Participants struggled to find the “Space” button     Both    Problem
 (Audio)        (located after punctuation and backspace                      solving
                buttons in the scanning sequence).

 Write-in       On the ExpressVote, the buttons for leaving the        EV     Annoyance
                write-in are visually opposite to the location of
                the keys on the keypads:
                • Accept: left on screen, right on keys
                • Cancel: right on screen, left on keys

 Write-in       Participants struggled to find the backspace          Both    Problem
 (Audio)        button to erase a letter. One tried using the left            solving or
                arrow, which took her back to the contest, and                Show stopper
                destroyed all the text she had already typed.

 Review         The judicial retention and ballot measures had        Both    Problem
 screen         uninformative headings:                                       solving
                • The judicial retention contest did not list the
                   name of the judge to be retained.
                • The ballot measure did not have a short
                   identifier or title, nor show the full text.


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 Function       Observation                                          System   Severity

 Review         A participant with a cognitive disability was          XL     Problem
 screen         initially confused by the review screen. She had              solving
                never seen something like this. But after looking
                at it, was able to explain it reasonably well.

 Review         Using the audio ballot, a participant went back to     EV     Annoyance
 screen         the contest to check who she had voted for in a
                contest, even though it was displayed (and read)
                on the review screen itself.

 Review         When voter returns to ballot measure from the          XL     Annoyance
 screen         review screen to change or confirm a vote, they
                are always returned to the top measure of the
                review screen, and have to “down arrow”
                through the ballot to get back to where they
                were. Participants assumed they would be
                returned to the ballot measure they had
                departed from.

 Review         Participants were surprised to get a message          Both    Annoyance
 screen         about undervoted contests after completing the                Or
                review screen.
                                                                              Problem
                For some, it made it feel that they were required             solving
                to completely vote all contests.

 Print,         If you eject the ballot and then reinsert it to       Both    Show stopper
 verify, cast   verify what has been printed, the content of the
                write-in is lost, because the text entered is not
                encoded in a barcode, and the system is not
                reading the text through OCR.
                • This means that it is not possible for a blind
                   or low-vision voter to completely verify their
                   ballot using just the voting system.
                • Two participants tried reading the ballot
                   using personal technology. The one who
                   used this technology found it easy. The other
                   struggled, but was successful.




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 Function       Observation                                           System   Severity

 Print,         Voters used to the Danaher Shouptronics                 EV     Problem
 verify, cast   expected to find a “Vote” button available to                  solving
                them at any time.
                • Using the XL in full-face mode means that
                   there is no navigation between screens, so
                   that there is a button to print and cast the
                   ballot always available.
                • This is an issue that will require voter
                   education.

 Print,         On the XL, blind participants were not sure what        XL     Problem
 verify, cast   was happening during the printing process.                     solving
                • They understood that something would print.
                • They heard the printer.
                • But they did not know where the ballot was
                   or what to do next.

 Print,         On the XL, it was not clear how to get to the print     XL     Problem
 verify, cast   button. At this point in the process, participants             solving or
                wanted clarity and accuracy.                                   Needs
                • One participant thought the down arrow                      assistance
                   should get to the print button, but the correct
                   control is the right arrow.

 Print,         On the XL, it was not clear how participants could      XL     Problem
 verify, cast   get their ballot back so they could verify it. This            solving
                concern was raised even when the XL was the                    or Needs
                first or only system they used, so it is not simply            assistance
                a comparison to the EV.
                                                                               Or
                • The process to review the printed ballot
                                                                               Show stopper
                   requires that the ballot be “cancelled” to eject
                   it from the machine. It can then be read back
                   in after verification, but there is no audio (or
                   onscreen) description of this process.
                • One participant thought “Quit” was how to
                   say she was done voting.




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 Function       Observation                                           System   Severity
                • Another could not figure it out, and ended up
                   casting their ballot without verifying.
                • There is no indication in the audio that this is
                   an option for blind or low vision voters who
                   don’t want to “cancel” their ballot, but just
                   review it manually.

 Print,         None of the participants were able to verify their      XL     Show stopper
 verify, cast   paper ballot on the XL.
                • The ballot is partially obscured by the cover.
                • The ballot is behind glass making it harder to
                   see.
                • The text is too small.
                • Several participants never saw the ballot to
                   verify.

 Print,         On the ExpressVote, most participants simply            EV     Problem
 verify, cast   followed the instructions to complete the                      solving
                printing and verifying process, but a few were
                confused because it wasn’t clear that the ballot
                would be returned to them.

 Scanner        There are no audio instructions to help a blind or     DS200   Needs
                low-vision voter insert and cast their ballot                  assistance

 Scanner        There is no way for a blind or low vision voter to     DS200   Needs
                read any of the messages on the scanner. This is               assistance
                a low-frequency problem when using the EV
                because there are no overvotes possible on the
                ballot, and the scanner was programmed to
                ignore undervotes. However, it is possible to cast
                a blank ballot.

 Scanner        There is no audio equivalent to the final screen       DS200   Needs
                to communicate that the ballot has been cast.                  assistance
                Blind participants heard the ballot drop into the
                box, but in a noisy polling place or when there is
                a pile of ballots already in the box this sound
                would not be available.




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Recommendations for deployment
                 The participants – and examiners – saw the systems being tested for the first
                 time during the examination. Many voters will also try using a new system for
                 the first time in the voting booth, so our test was realistic for Pennsylvania
                 voters.

                 The problems we encountered also suggest ideas for how election officials
                 can support voters and poll workers as they introduce the new system and
                 design their processes and procedures.

                 The recommendations here are based on observations of how both poll
                 workers and voters used the system and direct suggestions they made.


                 Advance training and hands-on practice
                 The need for an introduction and a chance to try out the system before
                 Election Day was the strongest recommendation from every poll worker
                 participant. As an election judge said, when we asked what he would tell his
                 poll workers, “Go to the training!”

                 Poll workers felt strongly that any new system – particularly these digital
                 interfaces – would be intimidating to voters and fellow poll workers who
                 were not used to computers. They recommended:
                 • Longer training sessions for poll workers to give them more time to
                    familiarize themselves with a new system.
                 • Opportunities for hands-on experience, including scenarios for different
                    situations they might have to handle.
                 • An aggressive voter education program to give voters a chance to try out
                    the new system.
                 • Outreach to voters with disabilities, including those who regularly vote
                    with assistance to let them know about the capabilities of a new system
                    that might help them.




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                 • Instructions or a practice system in the polling place, especially in districts
                    with many older people.


                 Training to support voters with disabilities
                 Poll workers may not be familiar with how to help people with disabilities.
                 Most of the poll worker participants said that they had no blind or disabled
                 voters in their polling places, although one pointed out that the features on
                 these systems might enable their “assisted voters” to try voting
                 independently.

                 In addition to a good training module on ways to help voters with disabilities,
                 the training should focus on how to give instructions before and during a
                 voting session to avoid compromising the privacy. For example:
                 • A “what if” troubleshooting guide could include specific questions to ask
                    and prompts that poll workers can use to help a voter with problem
                    solving without looking at the screen.
                 • Give poll workers guidance on where to stand while supporting voters. For
                    example, standing behind the ExpressVote and facing the voter would
                    make it clear that they are not looking at the screen.
                 • Using the procedures for initiating a voting session, including the screens
                    to select a language or acknowledge that assistive technology has been
                    activated, to make sure that the voter has found the basic navigation keys
                    on the keypad. On the ExpressVote, there is a screen with a diagram of the
                    keys that the poll worker can review with the voter (reading the
                    instructions to be sure they are consistent and accurate).




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                 Poll worker procedures
                 Poll workers procedures can also help bridge any information gaps for
                 voters, with instructions embedded in the voting process.

                 • Tell voters how to insert their ballot: identify the corner notch and the
                    location of the slot, and tell them the ballot is inserted directly into the
                    machine, not just slid forward.
                 • Remind voters to check both the review screen and their paper ballot
                    before casting.
                 • Tell voters that if they make a mistake, they can get a new ballot.
                 • Instruct voters to insert their ballot with the corner notch on the bottom
                    right so others can’t see their selections. The ballot can be inserted into
                    the scanner in any orientation.

                 Support for voters using the tactile keypad or dual switch and audio ballot
                 might include:
                 • A keypad they can try out before entering the voting booth.
                 • Instructions for how to use the keypad in both Braille and large print. The
                    illustration on the ExpressVote help screen could be the basis for these
                    instructions.

                 As a voter approaches the voting station, poll workers can help voters adjust
                 the voting system or attach personal assistive technology:
                 • Help voters get positioned at the voting system so they can reach all
                    controls. The XL screen can be adjusted to change its angle for a closer
                    approach, adapting to standing or sitting postures, and avoiding glare.
                 • Provide assistance plugging in personal headsets or switches with verbal
                    instructions or by doing it for the voter.
                     o A voter with a disability is likely to know how to plug in their personal
                         headset or switch, but they will not know the location of the jacks on
                         the machine.




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                 • Make sure voters are oriented and know where all parts of the voting
                    system are, including the privacy shields. The ExpressVote includes a
                    dedicated key on the tactile keypad to blank the screen.
                 • Remind voters how to cast their ballot and how to know when they are
                    done.


                 Voting booth setup
                 Voters with disabilities may have assistive technology or personal notes that
                 they need to place within reach. They may also need room to place the
                 printed ballot on a flat surface to use personal technology such as magnifiers
                 or text readers to verify it.
                 • work well with the printed ballot layout

                 For the ExpressVote, the path to the scanner should be as easy as possible,
                 ideally a straight line with no obstructions. The path should include ample
                 room to turn a wheelchair if the machine is positioned with the screen facing
                 the wall. The ADA standards suggest a minimum of 60x60 inches for this.




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                    Voting System Implementation Attestation


System Name:

County:

Date Installed/Upgraded:


The below hardware/software was installed and verified on the system implemented:

                             Software or
   System Component           Firmware        Hardware          Model           Comments
                               Version         Version
  Electionware                                                               (Please specify the
                                                                            implementation,
                                                                            single device
                                                                            (desktop/laptop),
                                                                            Client/server
            ES&S Event Log
                   Service

          Removable Media
                   Service

  ExpressVote HW 2.1

  ExpressVote
  Previewer (2.1)

  DS200


  DS450


  DS850


  ExpressVote XL
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ExpressLink


Toolbox


Further to the key hardware/software components listed above, any of the COTS software

installed on the voting system adheres to the EAC certificate of conformance for the EVS 6021

system. Any ancillary components like switches, ballot boxes, charging carts sold on this

contract are EAC certified components of the EVS 6021 electronic voting system. (Attach a list of

items sold on this contract.)

ES&S also has validated that the systems have been installed and hardened following the EAC

certified system hardening instructions and no software other than the voting system software

has been installed on any of the components.




Vendor Representative Signature:

Vendor Representative Name:                                  Title:

Telephone:                                          Email:




County Representative Signature:



County Representative Name:                                  Title:
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